 Case 3:09-cr-00158        Document 484        Filed 11/29/12     Page 1 of 5 PageID #: 3367




                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


LEODITUS ARAMUS SMITH,

                              Movant,

v.                                                   CIVIL ACTION NO. 3:10-1398
                                                     (Criminal No. 3:09-00158-06)
UNITED STATES OF AMERICA,

                              Respondent.

                                            ORDER

               Currently pending before this Court is a pro se Petition for a Writ of Habeas Corpus

filed pursuant to 28 U.S.C. ' 2255. (ECF No. 425). In his Petition, LeoDitus Aramus Smith

challenges his 2009 guilty plea to conspiracy to distribute 50 grams or more of cocaine base and a

quantity of heroin, in violation of 21 U.S.C. § 846. This action was referred to the Honorable

Cheryl A. Eifert, United States Magistrate Judge, for submission to this Court of proposed findings

of fact and recommendations for disposition pursuant to 28 U.S.C. ' 636(b)(1)(B). On June 27,

2012, the Magistrate Judge submitted her Proposed Findings and Recommendations in which she

recommends that Movant‟s Petition be denied (ECF No. 469). Upon motion, the Court granted

Movant an extension of time for him to file objections until on or before July 30, 2012. Having

not received any objections by that date, the Court adopted the Proposed Findings and

Recommendations of the Magistrate Judge, denied Movant‟s Petition, and dismissed this case

from the docket of the Court on August 10, 2012. On September 24, 2012, Movant filed his

current motion for “Reconsideration . . . Based on the Fact that the Court Never Received Timely

Filed Objection to Magistrate Judges Report and Recommendation to Dismiss.” (ECF No. 478).
 Case 3:09-cr-00158        Document 484        Filed 11/29/12      Page 2 of 5 PageID #: 3368




In his motion, Movant asserts he timely objected, although his objections were not received by the

Court. Based upon Movant‟s representation that he timely sent his objections, the Court grants

his motion to the extent he asks for the Court to consider them. Nevertheless, for the following

reasons, the Court finds the objections to be without merit.



               The Court reviews any portion of the Magistrate Judge=s report to which objections

are made de novo, but to those portions of the report to which no objection is made, the Magistrate

Judge=s Findings and Recommendations will be upheld unless they are Aclearly erroneous@ or

Acontrary to law.@ See 28 U.S.C. ' 636(b)(1); Webb v. Califano, 468 F. Supp. 825, 828 (E.D. Cal.

1979) (citing 28 U.S.C. ' 636(b)(1)(A)). In this case, Movant raises six general objections.


               First, Movant asserts he did not make a knowing and voluntary guilty plea as it was

the product of coercion and violated his due process rights. Movant argues his counsel should

have demanded a bill of particulars or challenged the sufficiency of the indictment because the

indictment did not contain a statutory reference, drug identification, or drug weight, and he was not

given fair notice of the offense. The Court finds absolutely no merit to Movant‟s argument.

Count One clearly states that Movant was charged with conspiracy to violate 21 U.S.C.

§ 841(a)(1), that is knowingly and intentionally distributing 50 grams or more of cocaine base and

a quantity of heroin in violation of 21 U.S.C. § 846. In addition, Movant signed a plea agreement

which set forth the charge and the maximum potential penalty for committing the offense, and the

Court fully explained the charge and the potential penalties at the plea hearing. The Movant

admitted to the offense at the hearing, and he stated he understood both the charge against him and

the contents of the plea agreement. Therefore, the Court denies this objection.

                                                 2
 Case 3:09-cr-00158         Document 484        Filed 11/29/12     Page 3 of 5 PageID #: 3369




                 Second, Movant argues that his counsel was ineffective because he did not

understand the essential elements of the charge as explained in DePierre v. United States, 131

S. Ct. 2225 (2011). Again, the charge and elements of the offense were fully explained to Movant

at the plea hearing. Moreover, as noted by the Magistrate Judge, 1 DePierre is completely

irrelevant to the present case as it held “the term „cocaine base‟ as used in § 841(b)(1) means not

just „crack cocaine,‟ but cocaine in its chemically basic form.” 131 S. Ct. at 2237. In this case,

Movant admitted to conspiring to distribute 50 grams or more of crack cocaine so the fact the

United States Supreme Court has clarified that “cocaine base” also includes “cocaine in it

chemically basic form” is immaterial to this case.



                 Movant‟s third through sixth objections consist of claims of ineffective assistance

because his counsel he did not challenge the career offender enhancement, the Court‟s jurisdiction,

a managerial role enhancement, and the 100:1 crack to powder cocaine ratio. The Magistrate

Judge fully explained this Court‟s jurisdiction, why Movant qualifies as a career offender, and why

the managerial role enhancement applies in the Proposed Findings and Recommendations. The

Court agrees with these findings. The Court further notes that, irrespective of his objections to the

managerial role enhancement and the crack to powder cocaine ratio, the Movant‟s base offense

level, before acceptance, was 37 because of his career offender status. Thus, these two objections

do not impact Movant‟s Guideline range because they resulted in a total adjusted base offense,

before acceptance, of 37, which is the same as his career offender level.



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           See Proposed Findings and Recommendations, at 2 n.1.
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 Case 3:09-cr-00158         Document 484       Filed 11/29/12      Page 4 of 5 PageID #: 3370




                Therefore, after careful consideration, the Court GRANTS Movant‟s motion to the

extent he asks the Court to consider his objections but, upon review, DENIES the objections.

Accordingly, the Court ADOPTS and INCORPORATES the portions of the Magistrate Judge=s

Proposed Findings and Recommendations to which no objection is filed, ADOPTS and

INCORPORATES the portions to which Movant objects, DENIES Movant‟s Motion to Vacate,

Set Aside or Correct Sentence Pursuant to 28 U.S.C. § 2255 (ECF No. 425), DENIES his Motion

to Supplement Pleadings (ECF No. 466), and DISMISSES this action WITH PREJUDICE from

the docket of the Court.



                The Court additionally has considered whether to grant a certificate of

appealability. See 28 U.S.C. ' 2253(c). A certificate will not be granted unless there is Aa

substantial showing of the denial of a constitutional right.@ Id. at ' 2253(c)(2). The standard is

satisfied only upon a showing that reasonable jurists would find that any assessment of the

constitutional claims by this Court is debatable or wrong and that any dispositive procedural ruling

is likewise debatable. Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003); Slack v. McDaniel, 529

U.S. 473, 484 (2000); Rose v. Lee, 252 F.3d 676, 683-84 (4th Cir. 2001). The Court concludes

that the governing standard is not satisfied in this instance. Accordingly, the Court DENIES a

certificate of appealability.




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 Case 3:09-cr-00158        Document 484        Filed 11/29/12   Page 5 of 5 PageID #: 3371




               The Court DIRECTS the Clerk to send a copy of this Order to Magistrate Judge

Eifert, counsel of record, and any unrepresented parties.


                                             ENTER:         November 29, 2012



                                             ROBERT C. CHAMBERS
                                             UNITED STATES DISTRICT JUDGE




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